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*AO   245B    (Rev. 12103) Judgment In a Crlminal Case
              Sheet I




                       SOUTHERN                                       District o f                              ILLINOIS

          UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                v.
              KIMBERLY R. ROBINSON
                                                                             Case Number: 4:05CR40011-002-JPG

                                                                             USM Numbe~06659-025

                                                                             David Williams                              I
                                                                             Defendant's Attorney
THE DEFENDANT:
d pleaded guilty to count(s)             1 and 2 of the Indictment.
                                                                                                                        -A              -
                                                                                                                                        J
   pleaded nolo contendere to count(s)                                                                          CLEM
   which was accepted by the Court.
   was found guilty on count(s)
                                                                                                               sOMhR*m*  w
                                                                                                                       'ENTON OFF~CF
                                                                                                                                     OF nuNoIs

   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Scrtiuo                      Yslurc ofOflcosc                                                         Oflcose Ended             Couot
                                                                                                               . .
21 US.C$.8&@#1)             ,        .             &I-@                                              at        1                        f   '




                                     Methamphetamine



       The defendant is sentenced as provided in pages 2 through                     9      of this judgment. The sentence i s imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)

   Count(s)                                                   is          are dismissed on the motion of the United States.

         I t 1s ordcrtd thdt the dtfendmt must nuul). the Ilnited Stales attome) fi~rthis dimict wlthin 311 J?\s ofan) change ofname. rt~iJenee,
or mailing adJrcss until all lines. reslitution. ;tlrt\, and special ssFssments imposeJ h?. this;uJgmtnt are tully pniJ If'urdered t o pa) restitution.
the Jefcndant must nouf! the Loun and Ilnitsd State, attome! 01 material changes in e;unomlc arcurnstanits.

                                                                             812512005
                                                                             Date of Imposition of Judgment




                                                                             J. Phil Gilbert, District Judge
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AO 2458      (Rev. 12103) Judgment in Criminal Case
             Sheet 2 -Imprisonment
M
DEFENDANT: KIMBERLY R. ROBINSON
CASE NUMBER: 4:05CR40011-002-JPG


                                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
total term of:
 87 months on Counts 1 and 2 of the indictment. All Counts to run concurrent with each other.




          The court makes the following recommendations to the Bureau of Prisons:




    'd The defendant is remanded to the custody of the United States Marshal

    'd The defendant shall surrender to the United States Marshal for this district:
          0 at                                          a.m.     0 p.m.       on
               as notified by the United States Marshal.

    6 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before 2 p.m. on

          d as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                           to

a                                                     , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            By
                                                                                                  DEPUTY UNITED STATES MARSHAL
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A 0 2458      (Rev. 12/03) Judgment in a Criminal Case




 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
  3 years on Counts 1 and 2 of the Indictment. All Counts to run concurrent with each other



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 'The dcienJant shall not unla\rfull) pobrcss 3 controlled substance. Ihe <&endan! shall reirain from an) unle\rtul use o i a cmtrolled
 suhstmcc. The delindmt >ha11subm~tlo one drug test \r ~ r h mI3 days ot rclcase trom inlprlwnmenr and a1 leahi In<)pcr~odicdrug less
 rhcreatier. as Jeternlined h) the court
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this .udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphemaha related to any controlled substances, except as prescnhed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associa!e with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permlsslon to do so by the protation officer;
  10)      the defendant shall permit a probation officerto visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  1I)      the defendant shall notify the probation officerwithin seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      3s JirccicJ h) the robniion officer, the dcknrlani shall noiitj third parties ofrisks ihat ma) he occasiuncd h) thc dsienJant'scriminal
           record or perstlna~ histor), or characteristi+ and shall permit the prohdtion otticer 10 make \uch notitication, and to confirm the
           defendant s compliancr' with such notiticatlon rcqulrcmeni.
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A 0 2458       (Rev. 12103) Judgment h a Criminal Case
               Sheet 3C -~u&rvnedRelease
                                                                                            Judgment-Page   4 of           9
DEFENDANT:
- --
   -       KIMBERLY R. ROBINSON
CASE NUMBER: 4:05CR40011-002-JPG

                                            SPECIAL CONDITIONS OF SUPERVISION
    The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
  commencement of the term of su~ervisedrelease. The defendant shall Dav
  ~   ~    ~   ~~   ~
                                                                                .
                                                                            . the fine in installments of $10.00 or ten
  percent of her net monthly income, whichever is greater.

    The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
  with access to anv reouested financial information. The defendant is advised that the Drobation office mav share financial
  information with the ~ h a n c i aLitigation
                                    l          Unit.

    The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
  conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
  reasonable suspicion of contraband or evidence of a violation of a conditon of supervision. Failure to submit to a seach
  may be grounds for revocation. the defendant shall inform any other residents that the premises may be subject to a
  search pursuant to this condition.

    The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, addor any other
  anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.- he defendant shall
  immediately notify the probation officer of the receipt of any indicated monies.

    The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
  dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
  complet abstinence from all alcoholic beverages. The defendant shall pay for the costs associated with smstance abuse
                                                       - fee scale aDDroved
  co~nselingand/or testing based on a c o - ~ a vslidina            ..      bv the unlted States Probation Office. C
                                                                                                               ~   -~o -
                                                                                                                       -~-
                                                                                                                         a,v
  shall never exceed the total costs of counseling.
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AO 245B     (Rev 12/03) Judgment m a Crlmlnal Cwe
            Sheet 5 -Cnmlnal Monetary Penalties
B
 DEFENDANT: KIMBERLY R. ROBINSON
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                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                         Fine                              Restitution
 TOTALS            $ 200.00                                           $200.00                          $ 0.00



     The determination of restitution is deferred until   -An Amended Judgment in a Criminal Case (A0 245C) will he entered
                                                                  ,

     afm such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise jn
     the priority orper or percentage payment column%elow. However, pursuant to 18
     before the Un~tedStates 1s pa~d.
                                                                                             &.&
                                                                                              5 36646), all nonfederal vlctlms must he p a ~ d

 Name of Pavet                                                              &taLhw           Kcstitution Ordered    Prioritv o r Percentae_e
                            .   .                                                                                                     . .
                                                                      . .




 TOTALS                              $                        0.00            $                    0.00


 IJ Restitution amount ordered pursuant to plea agreement $

 IJ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(0. All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C.        3612(g).

d The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      6 the interest requirement is waived for the              fine          restitution.
      IJ the interest requirement for the           IJ fine   IJ restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110,110.4, and 113.4 of Title 18 for offenses committed on or after
 September 13, 1994, hut before April 23, 199%.
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DEFENDANT: KIMBERLY R. ROBINSON
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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     @f Lump sum payment of $                                 due immediately, balance due

                  not later than                                    ,Or
                  in accordance                C,       D,           E, or          F below; or

 B          Payment to begin immediately (may be combined with                 C,           D, or        F below); or
 C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E          Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
            imprisonment. The coun will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F           Special instructions regarding the payment of criminal monetary penalties:

             While on supervised release, t h e defendant shall make monthly payments in t h e amount of $10.00 or ten percent
             of his net monthly income, whichever is greater.




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 Rcsponsibilit) l'rogrm. arc made IU t c .lcrk of the c11un.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in!he fol!owjng order: (1 assessment, (2) restitutiqn principal, (3) rest$ution interest, (4) fine principal,
 (5) fine mnteregt, (6) cornmumty restltutlon, (7) penalties, and (8) costs, lnclud~ngcost of prosecut~onand court costs.
